Case: 1:22-cr-00088-SNLJ-ACL Doc. #: 2 Filed: 07/05/22 Page: 1 of 3 PageID #: 6



                                                                                         FILED
                      IN THE UN1TED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI                                JUL     5 2022 ·
                             SOUTHEASTERN DIVISION                                   U. S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF MO
                                                                                       CAPE GIP\ARDEAU

UN1TED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
       v.                                    ) No.
                                                               1:22CR00088SNLJ-ACL
                                             )
JALEEL DEVONTAE GIPSON, and                  )
WSTIN DEWAYNE GIPSON,                        ) 21 U.S.C. § 841(a)(l);
                                             ) 18 U.S.C. § 922(g)(3);
                      Defendants.            ) 18 U.S.C. § 924(c)(l)(A);
                                             ) 18 U.S.C. § 2(a).

                                        INDICTMENT

                                             Countl

THE GRAND JURY CHARGES THAT:

       On or about June 11, 2022, in Ripley County, within the Southeastern Division of

the Eastern District of Missouri,

                              JALEEL DEVONTAE GIPSON and
                              JUSTIN DEWAYNE GIPSON,

the defendants herein, aided and abetted by each other, did knowingly and intentionally

possess with the intent to distribute fifty (50) grams or more of a mixture or substance containing

methamphetamine, a Schedule II narcotic controlled substance, in violation of Title 21, United

States Code, Section 841(a)(l), and Title 18 United States Code, Section 2(a), and punishable

under Title 21, United States Code, Section 841(b)(l)(B)(viii).




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i   Case: 1:22-cr-00088-SNLJ-ACL Doc. #: 2 Filed: 07/05/22 Page: 2 of 3 PageID #: 7




                                               Count II

    THE GRAND)URY FURTHER CHARGES THAT:

           On or about June 11, 2022, in Ripley County, within the Southeastern Division of

    the Eastern District of Missouri,

                                 JALEEL DEVONTAE GIPSON and
                                 JUSTIN DEWAYNE GIPSON;

    the defendants herein, aided and abetted by each other, did knowingly and intentionally
                                                                   V'




    possess with the intent to distribute, marijuana, a Schedule II narcotic controlled substance, in

    violation of Title 21, United States Code, Section 841(a)(l), and Title 18 United States Code,

    Section 2(a), and punishable under Title 21, United States Code, Section 841(b)(l)(C).

                                               Count ill

    THE GRAND JURY·FURTHER CHARGES THAT:

           On or about June 11, 2022, in Ripley County, within the Southeastern Division of

    the Eastern District of Missouri,

                                 JALEEL DEVONTAE GIPSON and
                                 JUSTIN DEWAYNE GIPSON,

    the defendants herein, aided and abetted by each other, knowing that they were unlawful
                                  \                                        .

    users of a controlled substance as defined in 21 U.S.C. § 802, did knowingly possess

    firearms and ammunition that had previously traveled in and affected interstate commerce,

    in violation of Title 18, United States Code, Sections 922(g)(3) and 2(a).




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i   t   I   '   Case: 1:22-cr-00088-SNLJ-ACL Doc. #: 2 Filed: 07/05/22 Page: 3 of 3 PageID #: 8




                                                             CountIV

                THE GRAND JURY FURTHER CHARGES THAT:

                        On or about June 11, 2022, in Ripley County, within the Southeastern Division of the

                Eastern District of Missouri,

                                                JALEEL DEVONTAE GIPSON and
                                                JUSTIN DEWAYNE GIPSON,

                the defendants herein, aided and abetted by each other, and in furtherance· of a drug trafficking

                crime, for which they may be prosecuted in a Court of the United States, to-wit: Possession of

                Methamphetamine with Intent to Distribute, knowingly possessed firearms in furtherance ·

                thereof, in violation- of Title 18, United States Code, Section 924(c)(1 )(A), and Title 18 United

                States Code, Section 2(a), and punishable under Title 18, United States Code, Section·

                924(c)(1 )(A)(i).
                                                                                /




                                                              A TRUE BILL.



                                                              FOREPERSON

                SAYLER A. FLElvIING
                UNITED STATES ATTORNEY



                TIJLIE HUNTER, #51612 MO
                ASSISTANT UNITED STATES ATTORNEY




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